 Case 2:15-cr-00569-SDW Document 43 Filed 05/23/17 Page 1 of 1 PageID: 156



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                         MINUTES OF PROCEEDINGS


NEWARK                                       DATE: May 23, 2017

JUDGE: Susan D. Wigenton

COURT REPORTER: Carmen Liloia

DEPUTY CLERK: Carmen D. Soto

Title of Case:                               Docket# 15-CR-569

UNITED STATES v. MARK ANDREOTTI

Appearances:
Shana W. Chen, AUSA for the Gov’t
Charlie Leslie Divine, AUSA for the Gov’t
John P. McGovern, Esq. for Deft (CJA)

Nature of Proceeding:      STATUS CONFERENCE

Deft present;
Status conference held;
Jury trial set for 7/31/17;
In limine motions due 7/17/17;
Opposition due 7/24/17;
Oral argument/trial conference set for 7/27/17.


Time Commenced 11:30 a.m.
Time Adjourned 11:40 a.m.
Total time:   10 mins.

cc: chambers                                 Carmen D. Soto
                                             Deputy Clerk
